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                          UN ITED STA TES D ISTRICT CO U RT FO R TH E
                               SOU TH ERN D ISTRICT O F FLOR ID A
                                         M iam iD ivision

                                C ase N um ber:17-62005-C IV -M O REN O

M ITCH ELL SILV ERM AN ,

                  Plaintiff,


NO VA SO UTH EA STERN UN IV ER SITY,
IN C .,

                  Defendant.


                               SC H ED U LIN G O RD ER SETT IN G T RIA L

        7'l1lS CO U RT issues this order in accordance w ith LoealRule 16.1. The parties shall
com ply w ith the following deadlines.

Conference and selection ofa m ediatorto be com pleted no laterthan:       N ovem ber22, 2017

Deadlinetojoinadditionalpartiesortoamendpleadings:                         December6,2017
Deadlinetocompleteal1diseovery(includingexpertdiscovcry):                   Mareh l2,2018
DeadlineforthefilingofaIlmotionsforsummaryjudgment:                         M arch26,2018
Deadlineforthetilingofpretrialmotions(includingmotionsinIimine               M
and Daubertm otions):                                                            ay 14,2018

M ediation to be com pleted no laterthan:                                    M ay 14, 2018

Plaintiffswitnessand exhibitlists:                                           June 20, 2018

D efendant'sw itnessand exhibitlists:                                        June 22, 2018

Pretrialstipulations to be filed by:                                         June 26, 2018

CalendarCallat2:00 p.m .,W ilkie D .Ferguson U .S.Courthouse,                j.-a
Courtroom 13 3,400 North M iam iAvenue,M iam i FL 33128:
              -                                                              uly 3, ()jg
                                                     ,


Trialsetforthe two-w eek period com m encing:                                July 9, 2018
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       Pursuantto FederalRuleofCivilProcedure 40,thisaction isatissue. Itis
A DJU D G ED thatthe parties shallcom ply w ith the follow ing trialm anagem entprocedures:
              PretrialConference - The PretrialConference allowed under FederalRule of
CivilProcedure16(a)andrequiredbyLocalRule 16.1.C,shalltakeplaceimmediatelyfollowing
CalendarCallonly ifrequested by thepartiesin advance. Ifthepartiesdo notrequesta pretrial
conferencein advanceofCalendarCallthen no pretrialconferencewillbeheld.
       (2)    PlaintiffsW itnessand ExhibitLists- Plaintiffshallelectronically upload onto
the case docketa copy ofPlaintiffsW itnessListand a copy ofPlaintiffs ExhibitListno later
than W ednesday.June 20.2018.at5:00 p-m .
          (a)PlaintiffsW itnessList-Plaintiffs W itness Listshallinclude al1the witnesses,
              both lay and expert,that Plaintiff intends to call attrial. Plaintiffs W itness List
              shall brietly describe the nature of each witness' testimony and whether such
              witnesses w illbe testifying live orby deposition. W itnesses om itted from the list
              w illnotbe allow ed attrial.
          (b)Plaintiffs Exhibit List - Plaintifps Exhibit List shall include the exhibits that
              Plaintiff intends to use at trial. Plaintiffs Exhibit List shall in consecutively
              num bered paragraphs adequately describe the nature of each docum ent listed.
              The actual exhibits shall be pre-marked with corresponding numbers (e.g.
              PlaintifpsExhibit//1,PlaintifpsExhibit#2,etc.)which numbersthey willretain
              through the end oftrial. The exhibitlistshallreferto specific item s and shallnot
              include blanket statem ents such as alI exhibits produced during depositions or
              Plaintiffreserves the use t?fany otherrelevantevidence. Exhibitsomitted from
              the listw illnotbe allowed attrial.
              D efendant's W itness and Exhibit Lists - Defendant shallelectronically upload
onto the case docket a copy of Defendant's W itness Listand a copy of Defendant's Exhibit List
no laterthan Fridav.June 22.2018.at5:00 p-m .
          (a)Defendant's W itness List - Defendant's W itness List shallinclude only those
              additional lay and expert w itnesses not included on Plaintiffs W itness List.
              W itnesses listed by Plaintiff willbe available for both parties and should not be
              re-listed on Defendant's W itness List. Defendant's W itness List shall briefly
              describe the nature of each additional w itness' testim ony and whether such
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               witnesses will be testifying live or by deposition. W itnesses om itted from
               D efendant's W itness List and not listed on Plaintiffs W itness List will not be
               allow ed attrial.
           (b)Defendant's Exhibit List - Defendant's Exhibit List shall include only those
               additionalexhibits thatDefendant wishes to introduce attrialwhich are noton
               PlaintiffsExhibitList. Defendant's ExhibitListshallin consecutively num bered
               paragraphs adequately describe the nature of each docum entlisted, The actual
               exhibits shall be pre-marked with corresponding numbers (e.g. Defendant's
               Exhibit#1,Defendant'sExhibit#2,etc.4which numbersthey willretain through
               the end oftrial. The exhibitlistshallreferto specific item s and shallnotinclude
               blanketstatementssuch asallexhibitsproduced during depositionsorDefendant
               reserves the use of any other relevant evidence. Exhibits omitted from
               Defendant's Exhibit List and not listed on Plaintiffs Exhibit List w ill not be
               allow ed attrial.
   (4)Pretrial Stipulation - Pursuant to Local Rule 16.1.E,the parties shall tile a Pretrial
Stipulation no laterthan Tuesdav.June 26.2018. The PretrialStipulation shallconform to the
requirem ents of l-ocalRule 16.1.E. The parties shallattach to the PretrialStipulation copies of
the witnessand exhibitlistsalong with any objectionsallowed underLocalRule 16.1.E.9.
pending m otion for continuance shall not stay the requirem ent for filing of a Joint Pretrial
Stipulation.
   (5)Continuance /Settlem ent- To the extentthatthe parties requestm odification ofany
date in this Court's Scheduling O rder,the parties shallfile eithera M otion to Continue Trialor a
M otion to Continue PretrialD eadlines. A stipulation ofsettlem entm ustalso be in w riting. See
Local Rule 7.1.4. Unless the Court grants the m otion in w riting, counsel m ust appear at the
CalendarCall.
   (6)M otions- When submitting motions,thepartiesshallsubmitaproposed orderonly for
those m otions listed in LocalRule 7.1.A .I.
   (7)Depositions- Depositionsare limited to seven hours during one day absentcourtorder
oragreem entofthe partiesand any affected non-party w itnesses. See LocalRule 26.1K .
   (8)Sum m ary Judgment - The practice of tiling multiple motions for partial summ ary
judgment which are collectively intended to dispose of the case (as opposed to one
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comprehensivemotion forsummaryjudgment)in orderto evadememorandum page-limitations
isspecifically prohibited. SeeAdministrativeOrder97-06 (S.D.Fla.Jan.31,1997)(amending
LocalRule7.1.C.2).

        D ON E A ND O RD ERED in Cham bers at M iam i, Florida,this   +
                                                                          of N ovem ber
2017.

                                         FED ER       . O RE O
                                         UN IT     TA TES D ISTRICT JU D GE

Copies furnished to:

CounselofRecord
